        Case 0:19-mj-06407-LSS Document 1 Entered on FLSD Docket 08/26/2019 Page 1 of 13


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                                      U NITED STATBS D lsTm c'r Cot+ 'r
                                                                         forthe


                 United StatesofAm erica
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                                                                   hernDistrictofTexas(%-(fb7-* 'zJ--
                 JOSEANIBV.
                         AL LINARES                                       )
                                                                          )           casexo.a,Js.a-kok-yp
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                          Depndant

                                                               ARREST W ARRANT
         Any autlmrized 1aF enforcementom cer

         YOU AQE COM H ANDED to arrestand bring'beforeaUnited Statesm qgistrat
                                                                                                     ejudgewithoutunnecessary delay
 (zameofpm ontobearrestes     JOSE ANIBALLINARES
 who isaccusedofan offense orviolation bascd on the following documenttiled with the court:                                           ,

 D lndictment        O SupersedingIndictment O lnformation I
                                                           b SupersedingInformation V Complaint
 I
 D Probation Violation Petition           D Supervised ReleaseViolation Petition                O vi
                                                                                                   olationN otice O OrderoftheCourt
 Thisoffenseisbrieiy described asfollows:
  18U.S.C.jj          Knowinglyand wi
                      executing and
                                       th intentto defraud,devise a scheme to defraud lndlvlduals
  1341and 1343                                                                                   , andf orthe purpose of
                                    attempting to qxecutethescheme, mailand cause to be mailed      matters andthings
                      through the UnltedStates PostalService, and transmitorcause to be transmi  tted wire
                      communicationsinlnterstatecommerceIMailFraud                            reFraud)



Date:            >
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                                                                                                     'cc?'z
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                                                                                                          çsignaturo
City andstate:    Dallas,Texas                                                     DAVIDL.HORAN,U.S.MagistrateJudge
                                                                                                 Pn'
                                                                                                   ntednameandff//d

                                                                      ju juvu
         Thiswacantwasreceived on (date)                          '        ,   andtheperson wasarrestedon (date)
atrcff.
      pandatate)                              --                  .




Date:
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      Case 0:19-mj-06407-LSS Document 1 Entered on FLSD Docket 08/26/2019 Page 2 of 13
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                   JOSEANIBAL LINARES                                      caseNo.
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                         De#ndantlz)

                                            CRIM INAL COM PLAIXT
            1,thecom plainantin thiscase, slatethatthefol
                                                        lowingistl'uetothebestofmy knowledgeandbelief
     Onoraboutthedatets)of        May2015throughJuly2017 inthecountyof                                            Dallas             inthe
        Northern       Districtof      Texas         ,t
                                                      hedefcndantts)violated:
              CodqSection                                                    Op naeDescrètion
     18U.S.C.jj1341and 1343             Knowlngly andwith intentto defraud,devlse a scheme to defraud individuals
                                        andforthe purpose ofexecuting and attemptlng to execute thescheme mail,
                                                                                                            ,
                                        and cause to be mailed mattersand things through the United States Post
                                                                                                              al
                                        Servlce,andtransmitorcause to be transmittedwlre communlcatlons In
                                        interstaticommerce(MaiIFraud andWire Fraùd)


           Thiscriminalcom plaintisbasedon these facts:
 SeeattachedaffidavltofFBISpecialAgentChristine L. Edson.




          # continuedontheattachedsheet     .


                                                                                            ... **



                                                                                            Complaînant'v
                                                                                                        .signature
                                                                                 CHRISTINE L.EDSON , FBlSpecialAgent
                                                                                             Prînted nameandtule
Sworn tobeforem eand signed inmy presence.

Date:              &
                                                                                                 Judge'
                                                                                                      4.signature            '
Cityandstate:          Dallas,Texas                                        DAVID L.HORAN.U.S.Magl strate Judge
                                                                                        Printednameand tl'
                                                                                                         tle
Case 0:19-mj-06407-LSS Document 1 Entered on FLSD Docket 08/26/2019 Page 3 of 13




                                         AFFIDAW T
          1,SpecialXgentChristitleL.Edson,aRerbeing duly sworn, depose and state as
    follows:

                                         Introduction

                 Iam aSpecialAgentwiththeFederalBureauofInvestigation($$FBI''),
   currently assigned to theDallasDivision,duly appointed and acting accordlg to law . 1

   havebeen a SpecialAgentsinceJuly 2012,and 1am responsible forconducth g

   investigationsofcomplex financialcrlm es, to includew ire fraud,m ailfrapd,m oney

   laundering,andsecuriiiesfraud.Priortomy appointmentasa SpecialAgent, Iw as
   elployed asaForensicA ccountantw ith the FederalBureau ofInvestigation for

   approxim ately three years.1havereceived kaining in such areasasfinancialanalysis,

   Gnancialinvestigativem ethodsand applications,teclmiquesfordisguislg and

   transm itïing theproceedsofillegalactivities,and assetforfeiture. Ihavealso received

   training regarding computers,cellulartelephones,and digitalevidence.

         2.     Thisaffdavitism adein supportofa crim inalcom plaintagainstJose

   AnibalLinaresClainares''landsetsforthfactsestablijhingprobablecausethatLinares
   comm itted the follow ing offensesin theNorthern Distrid ofTexas:M ailFraud, in

  violationbf18U.S.C,j1341,an.dW ireFraud,inviolationof18U.S.C.ç1343.
         3.    Theinform ation contained in thisafEdavitisbased on my personal

  obseN ationsduring the courseofthe hw estigation;inform ation conveyed to me by other

  law çnforcem entofûcials;interview sw ith w itnessesto crim inalactivity;and m y review

  ofrecords,docum ents,and otherphysicalevidenceobtained during theinvestigation, as

  Afidavit- page 1of11
Case 0:19-mj-06407-LSS Document 1 Entered on FLSD Docket 08/26/2019 Page 4 of 13




     described herein. Thisafsdavitislim ited in scopeto information relevantto thepurpose

    ofseeking a crim inalcomplaintand isnotan exhaustive accountofa1linform ation

    pertaining toLinaresorthisinvestigation.

                                 Sum m arv ofProbable Cause

           4.    InversionesJC D allas S. DE.R.L.
                                                ,LLC CçlnversionesJC Dallas'')wasa
    purported inves% entcompany established in approxim ately M ay 2015 by Linares.
    Linaresm aintalned ofûcesforInversionesJC D allasat9330 LBJFreeway 9* Floor
                                                                      ,       ,

    Dallas,Texas75242 in theNorthern D istrictpfTexasfrom approxim ately M ay 2015 to

    June2017. In approxlm ately July 2017, Linaresm oved theInversionesJC D allasoffce

   to 8330 LBJFreew ay,8* Floor,Dallas,Texas75242,also in theN orthel'
                                                                     n Districtof
   Texas. lnversionesJC Dallasm aintained a website atw ww .inversionesjcdallas,
                                                                               com.
          5.    Beginning in atleastM ay 2015 and continuing through July 2017, Linares

   devised a schem eto defraud individualsand, forthepurposeofexecuting orattempting

   to executethescheme,Linares(1)mailedorcausedthemailingofmattersandthings
   throughtheUnitedStatesPostalService;and(2)transmltted,orcausedtobetransmitted,
   w irecom m unicationsin interstate comm erce. Llnarestold potentialdsinvestors''thathe

   had an investmentcompany called lnversioncsJC Dallas and fraudulently induced them

   to sign conkactsfortheirdçinvestm ent,''whereby they wouldprovide aprincipalamount

   ofm oney to Linaresand in retum , receiveinterestpaym entson a m onthly basisforone

  year.Linaresprom ised these individualsthat, atthe end ofthe one-yearcontractperiod
                                                                                        ,

  they could reinvestorhavetheirprincipalam ountreturned to them . Linaresgave

  varying explanationsto the individualsabouthow hewasable to generatethe interest

  Afldavit- pagel of11
Case 0:19-mj-06407-LSS Document 1 Entered on FLSD Docket 08/26/2019 Page 5 of 13




    paym ents,such asinvesting in realestateorm aking loansto otherindividuals. Based on

    my initialreview ofbank recordsand interview sofindividuals therelsevidencethat
                                                                    ,

    Linaresused fhndsprovided by laterinvestorsto pay back earlieri
                                                                  nvestors- in effect,a
    Ponzischeme.Furtherm ore,tow ardsthe end ofthe scheme especially in 2017,Linares
                                                                ,

    received ftmds9om individuals, signed contractswith them buthe did notm akeany
                                                            ,


    paym ehtsprretum theirfzm dsatthe end ofthe contractperiod.

                            FactsD em onstratinz Probable Cause
    Overview ofInversionesJC Dallas

          6.     '
                 l'he FBIinitiated an investigation intoLinaresand InversionesJC D
                                                                                     allasin
   August2017 based on inform ation provided by individualsw ho inv
                                                                   ested money with
   Linaresand reported thathehad disappeared in August2017. Num erousindividuals

   contacted theFBlD allasDivision to filea complaintregarding Linares. A ccording to

   TeyasSecretary ofStaterecords, Linaresestablished InversionesJC D allasin

   approxim ately M ay 2015 asalim ited liability company.
                                                             Linaressetujanofficefor
   InversionesJC Dallasat9330LBJFreew ay, 9* Floor
                                                       ,   Dallas,Texas75243 (119330LBJ
  Freeway office'')in theNorthern DistrictofTexas M any oftheindividuals1
                                                   .



  interview ed reported m eeting Linaresatthe 9330LBJFreeway ofice.
                                                                        Toward the end
  oftheschem e,in approxim ately July 2017, Linaresrelocated to 8330 LBJFreew ay 3*
                                                                                ,

  Floor,Dallas,Texas75243(1$8330LBJFreeway office''), also in theNorthern Districtof
  Texas. M any ofthe individualsIinterviewed reported seeking outLinaresatthe 8330

  LBJFreew ay offk e,butfoundthe ofsceclosed orabandoned by the end ofAugust2017
                                                                                         .




 Afsdavit- page3 of11
Case 0:19-mj-06407-LSS Document 1 Entered on FLSD Docket 08/26/2019 Page 6 of 13




          7.     lnversionesJC D allasoperated by ''word ofm outh''tllrough invesu ent
   referrals. An individualwho hw ested with Linareswould receive areferralfeeforany

   otherind vidualsthey broughtin. Investorsoûen received lettersin the m ailfollow ing

   theirhw estm entwith Linaresthatreferencedthisreferralfeeand welcom ing them totlw

   dslnversionesfnm ily.''

   Overview ofPhoneRecords

         8.     Linarescom municated by telephonewiththevictimsofthe schem e. 1

   obtainedsubscriàerinformation,tollrecords,andcell-sitelocationrecordsfortelephones
  used by Linaresfrom T-M obileU SA , cellulartelephoneassignedcallnumbersy(214)

  962-4466= 4(469)206-6868t'V eSubjectPhones'').T-Mobilerecordsshow thatthe
  registeredsubscriberforSubjectPhone(214)962-4466wasLinares'swife,MariaTrejo            .



  Trejoisalsolistedasamemberin thelimitedliability companyreiordsfoiInversiones
  JC Dallasfiled w1t11the TexasSecretary ofState. T-M obilerecordsshow thatthe

  registeredsubscriberforSubjectPhone(489)206-6868was.InversionesJC Dallas Toll .



  recordsfortheSubjectPhonesshow thatLinaresregulady commuicatedwithvictim
  investors,aswillbefhrtherdescribed below in sllmmariesofmy interviewsw1t11sevekal
  victims.

  Overview oflnversionesBank Statem ents

        9.     Linaresm aintained bnnk accotmtsforInversionesJC DallasatBnnk of

 America,N.A.(t%Bank ofAmerica'')atldW ellsFargoBenk,N.A.($çW e11sFaz'
                                                                     goBnnk'')       .


 M any ofthevidim s1interview ed invested by providing acheck to Linares, which he

 deposited orcashed atthesebnnks. Othervictimsinvested by providing cash to Linares

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              ge4 of11
Case 0:19-mj-06407-LSS Document 1 Entered on FLSD Docket 08/26/2019 Page 7 of 13




     and received areceiptfortheirinvestm cnt. TheW ellsFargo Bank accountswere

    prim arily used 9om approxim atelyM ay 2015toA pril2016.

           10. LinaresopenedBank ofAmericaaccountXXXxXXXX7025 (account7025)
    on oraboutJune 16,2016 in theham e ofInversionesJC Dallas. Linaresand hiswife,

    MariaTrejo,werelistedassignersonaccount7025.From June2016toAugust2017,
    approximately$1.2million in checksandcashier'schecksfrom possibleinvestorswas
    deposited into account7025. During the sam etim eperiod, approxim ately $836,000was

    withdrawn incash and$306,000 wasujedforpaymentstopossibleinvestorsin theform
    ofchecksand cashier'schecks.

   RelevantIntèrview s- M .M . in D allas.Texas

          11. On August18,2017,Iinterviewed M .M .attheFB1oftk s in D allas,Texas.

   M .M ,wasintroduced to Linaresby friends ofhersthatpreviously hw estedw ith Linares
                                                                                          .


   M .V .'sfriendsreceivedpaymentsfrom Linaresasreturnsontheirinvestments Based
                                                                              .


   on therecom m endation ofherfriends, M .M .m etwith LinaresatthelnversionesJC

   D allasoffice at9330 LBJFreeway on Febnzary 15, 2017.Them eeting lasted acoupleof

   hours,and M .M .had a 1otofquestionsaboutInversionesJC D allas w hich M .M .
                                                                   ,

   understood to bean investm entcom pany. Linarestold M .M .hewasinvesting in flipping

   residentialhom esand investing in com mercialrealestate, such asshopping centers,and

  had been doing so forseveralyears, Therew erenumèrouspeople in the lobby waitingto

  talk toLinares.M .M .decidedto invest$30,000 andsignedaone-yearcontractwith
  Linares,Linaresexplained thataAera graceperiod offourm onths, M .M .w ould begin

  receiving monthlypaymentsof$2,000forthenexteightmonths Attheend oftheone-
                                                               .




  Aflldavit- page5 of11
Case 0:19-mj-06407-LSS Document 1 Entered on FLSD Docket 08/26/2019 Page 8 of 13




    yearterm,M .M .expectedtoreceiveher$30,000investmentback        .



           12. M .M .visited the com pany websitepriorto investing. A Aerm aking her

    investm entwith Linares, M .M .received aletterin the m aildatedFebruary 21 2017. The
                                                                               ,

    letterreferenced herinvestm entand invited herto referInversionesJC D allasto her

    family and friendsforareferralfee. M .M .heard from otherindividualsthatLinaresw as

    recm iting investorsin otherstates.Forexam ple, ifa currentinvestorreferred Linaresto

    an out-of-state friend orfam ily m em ber, Linareswouldtravelto meetthatpotential

   investor.

          13.   M .M .expectedto receiveherfrstm onthly paym entin m id- luly 2017,four

   m onthsalerherinvestm ent.On July 16,2017,M .M .and otherinvestorsreceived a

   v oup textm essage 9om LinaresthatlnversionesJC Dallashad anew addrer and that

   paym entswould notbem adeuntilJuly 31,2017. Thenew addressprovided in thetext

   messagewas8330LBJFreeway.M .M.rcceivedthetextmessajefrom SubjectPhone
   (214)962-4466.Thetext.messagewasM ,M .'slastcontactwithLinares        .



         14. M .M .visited thenew ofllcelocation on July 31, 2017. M .M .saw aplaque

   on the doorforInversionesJC Dallas, buttheoffcewasempty. M .M .talked to the

  security guard forthe building,w ho inform ed herthatpeoplehad been com ing in a11day

  looking forLinates.M .M .w entback tothe officethe follow ing W edhesday August2,
                                                                          ,

  2017,and spoke to the leasing m anager, A.T. A .T.told M .M .shehad been in contact

  with Linaresby e-m ailand Linéreshad reportedhew asoutofthecountry. A .T.told

  M .M .thatLinares ow ed m oney to theleasing ofûce. M .M .believed shewasa victim of

  fraudand puttogethera listofinvestorswith whom shehad spoken orheard aboutfrom

  Am davit- page6 of11
Case 0:19-mj-06407-LSS Document 1 Entered on FLSD Docket 08/26/2019 Page 9 of 13




    otherinvestors,w hich sheprovided in acomplaintto theFB1DallasDivision on A ugust

    3,2017.

           15. M .M .provided m ewith acopy ofhercontract,theletterfrom Inversiones

    JC Dallas,andhercheckfor$30,300,which includtd$30,000for'çinvestment''and$300
    foratçm em bership fee.'' Ireviewed recordsforBank ofAm erica account7025 and

    verified thatthischeok w asdepositdd intothe accounton February 16, 2017.

   RilevantInterview s- J.
                         N .in lndian Trails.N orth Cr olina

          16. On September4,2018,1interviewedJ.N.telephonically. J.N .lived in
   Indian Trails,N orth Carolina.J.N .heard aboutLinaresand hiscom pany InversionesJC

   Dallasthrough hisfriend J.Z.J.Z.knew Linaresfrom H onduras. J.Z.firstheard about

   the opportunity to hw estwith Linaresapproxim ately two orthree yearspriorto his

   invtstm ent.J.Z.had invested successfully with LinaresforoverayearbeforeJ.N .

   decided to investasw ell.J.N .saw thatJ.Z.w asreceiving hispaym entsfrom Linaresand

   decided to invest.

          17.   J.Z.traveled to Dallasbeforeheinvestedw it,
                                                          h Linaresand visited the

   InversionesJC D allas oftk e.J.
                                 N .thoughtinvestingw ith Linaresw ould be asafe

   investm entbecause J.Z.had ohecked outthe officeandhad invested successfully with

   Linaresforoverayear.J.N .spoketo Linares overthephonea couple oftim espriorto

   m aking hisinvestm entin M arch 2017.J.N .did notrecallthe exad detailsofhis

   conversationswith Linaresoverthephone,butthoughtitw as acombination of

   inform ation aboutthe investm entopportunity and the logisticsofinvesting with Linares.

  Linarestold J.N .hew asç'investing in differentplaces,''such asaw aterresortin

  AfEdavit- page7 of11
Case 0:19-mj-06407-LSS Document 1 Entered on FLSD Docket 08/26/2019 Page 10 of 13




     Honduras.Linarestold J.N .hehad a 1otofotherpeoplewho were investing, w ho w ere

     doing okay w ith theirinvestm ents.Linaresflew toN orth Carolinato m eétin person with

     Linaresand collecthischeck.LinaresmetJ.N .atJ.Z.'Shouse in N orth Carolinaon

     approximatelyM arch 25,2017.J.N.gaveLinaresacheckfor$7,000 forhisinvestment

     andacheck for$300foramanagementfeeforhisinvestment.J.N.signedacontract
    with Lin>resduring them eeting in N orth Carolina. LinaresgaveJ.
                                                                   N .acopy ofthe

    contractand areceiptforhis$7,000hwestment.Thecontractwasforoneyear. Atttze
    end ofthe contract,J.N .expected to receivehism oney back orrenew hiscontract.
                                                              .




    LinarestoldJ.N.hewouldreceive$550permonthforàis$7,000investmentaftera
    waiting period ofthreem onths. J.N .expected to receive hisfrstpaym entin July 2017.

    Them onthly paym entsw eresupposed to be deposited into J.N .'Sbank account. J.N .

    neverreceived any paym entsforhisinvestm entwith Linares.

          18. A Aerhisinvestm ent,J.N .received textm essagesfrom Linares. Linares

    saidhewould pay referralfeesifJ,N .referred otherpeopleto him . Linaresused the

    SubjectPhonesto communicatewith J.N.J.N.usedphonenumber(xxx)xXx-5265to
    comm unicatewith Linares. J.N .tried to contactLinaresatthe aforem entioned phone

   numbersaAerhe did notreceive hisfrstm onthly paym entin July 2017, butLinares

   neverresponded.

          19. J.N.providedmewith acopy ofhiscontractandareceiptfor$7,000 I        .



   review ed recordsforBank ofAm erica account7025 and verifed thatJ.N .'Scheck for

   $7,000wasdeposited intotheaccountonM arch27,2017.



   Afsdavit- page 8 of11
Case 0:19-mj-06407-LSS Document 1 Entered on FLSD Docket 08/26/2019 Page 11 of 13




            20. Ireviewed T-M obiletollrecotdsand located telephone comm unications

     betweentheSubjectPhonesandphonenumber(XXX)XXX-5265(J.N.).Forexample,I
    locatedtelephonecommunicationsbetweenSubjectPhone(469)206-6868(Linaresjand
    phonenllmber(XX'
                   X)XXX-5265(J.N.JonJune16,2017.Cell-sitelocationrecords
    show thatSubjectPhone(469)206-6868(Linaresjwaslocated inDallas,Texasonthe
    date and tim e ofthetelephone com m unicationson June 16, 2017.J.
                                                                    N.toldlhehe(J.N.)
    w aslocated in N orth Carolina when hem adehisinvestm entand com m unicated with

    Linares.

    RelevantInterview s- F.A .in LongBeach.Califom ia

           21. On June22,2018,Iinterviewed F.A .telephonically. F.A .lived in Long

    Beach,California.F.A .wasreferred to Linares and hiscompany InversionesJC Dallas

    from someonein thep allasarea.F.A.didnotrecallthennmeofthepersonwhoreferred
    him to Linares. F.A .had lim ited experience investing through hisE#TRADE lndividual

    Retirem entAccount.F.A .recalled peeingLinares'sw ebsiteand verifying the

    authenticity ofthecompany onlinepriorto investing.

           22. F.A .talked to Linaresoverthephone in approxim ately thebeginning of

   M arch2017.F.A.usedphonenumber(XXX)u X-8186tocommunicatewithLinares.
   Linarestold F.A .he invested in realestateand m adeloansto com panies and individuals.

   Linarestold F.A .ifhe invested,he could earn a decentinterestrate on hism oney.
   Llnaresstated lliscom pany w ast'self-sustaining.''Linaresassured F.A .them oney he

   invested would be insured.Linarestold F.A . nottow on'y,thathisinvestmentwould be

   safe.

   Aflldavit- page9 of11
Case 0:19-mj-06407-LSS Document 1 Entered on FLSD Docket 08/26/2019 Page 12 of 13




           23. F.A.agreedto invest$12,000with Linares.LinarestoldF.A.hewould
    kavelto California to pick up the check from F.A .F.A .subsequently received an e-m ail

    regarding Linares'stravelfrom an InversionesJC Dallase-m ailaccount. Thesignam re

    line on the e-m ailindicatesitw as sentby Y .E.,whow orked in Linares'soffke. F.A .m et

    Linaresin thelobby ofahotelin Califom ia on M arch 30,2017. Linaresm ade thesame

    assurancesregarding F.A .'Sinvestm ent.LinarestoldF.A .hism oney w asinsured and

    thatthecompany w asSsself-sustaining.''

          24. F.A .signedacontractwithLinaresfor$12,000andgavehim acheck for
    $12,300.Thecheckincludeda$308subscriptionfeetobepartofthecompany.Linares
    told F.
          A .hewastraveling to N ew Yorkthe nextday topick up an investmentcheck from

    someone else. Thehw estm entconkactw asforoneyear.Attheend oftheyear,F.A .

    couldrenew hiscontractorwithdraw hismoney,

          25. F.A.wassupposed toreceive$800permonth forhishwestment.F.
                                                                     A.
    provided hisbank accountinform ation to Linares.Linarestold F.A .hewould have

    som eone depositthem onthly paym entsdireçtly into hisaccountfrom Dallas. F.A.never

    received a singlepaym entfrom Linares.Thecontractspecified therewasathzee-month

    'swaiting period.''F.A.expected to receivehis firstpaym entin July 2017. W hen F.A .

    called thelnversionesJC Dallas offke in July 2017,no one answ eredthephone.
                           ,




          26. F.A.providedm ewith acopy ofhiscontractandarecelptfor$12,000.1
    reviewed recordsforBank ofA m ericaaccount7025 and verified thatF.A .'Scheck for

    $12,300wasdepositedinto theaccountonApril3,2017.



   Afsdavit- page10 of11
Case 0:19-mj-06407-LSS Document 1 Entered on FLSD Docket 08/26/2019 Page 13 of 13




           27.    Ireview ed T-M obile tollrecordsand located telephone com munications

     betweentheSubjectPhonesandphonenumber(XXX)XXX-8186(F,A.J.Forexample,
    Ilocatedtelephonecommunicationsbetween SubjectPhone(214)962-4466(Linares)
    andphonequmber(XXX)X*X-8186F.A.)onM ay 30,2017.Cell-sitelocation records
    shol thatSubjectPhone(214)962-4466 (LinaresjwaslocatedinDallas,Texasonthe
    dateandtimeofthetelephonecommunicationson M ay 30,2017.F.A.toldmehe(F.A.)
    w aslocated in Califom iawhen hem adehisinvestm entand com municatedw ith Linares.

                                          Conclusion

           28. Based upon the façtspresented above,there isprobablecausethatLinares

    devised aschem eto defraud individualsand,forthepurpose ofexecuting orattem pting

    toexecutetheschemetodefraud,(1)mailedorcausedthemailing ofmattersatldthings
    through theUnited StatesPostalService,in violation of18U.S.C.j 1341(M ai1Fraud);
    and(2)transmitted,orcausedtobetransmitted,wirecommunicationsininterstàte
    commerce,inviolation of18U.S.C.j 1343 (W irefraud).
                                            Respectfully subm itted,


                                            ChristineL.Edson
                                            Specia Agent,FederalBureau ofInvestigation

    Subscribed and sw orn to beforem e on this           ofJuly,2019.



                                                id L. ran
                                            United StatesM agistrate Judge




   Affidavit- page 11 of11
